
PER CURIAM.
In this Anders appeal, we affirm the trial court’s order revoking probation and the resulting sentence. We remand, however, for correction of a scrivener’s error in the written order of revocation. The trial court’s order incorrectly referenced “conditions 7 &amp; 6” rather than conditions five and six as alleged in the affidavit of violation and as orally pronounced at the hearing. On remand, the court should enter a corrected order that conforms to its oral *758pronouncement. See Wilkerson v. State, 82 So.3d 1201 (Fla. 1st DCA 2012).
AFFIRMED and REMANDED for correction.
OSTERHAUS, JAY, and WINSOR, JJ., CONCUR.
